          Case 3:11-cr-00345-DRD          Document 259       Filed 01/24/12     Page 1 of 6



 1                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF PUERTO RICO
 2
 3        UNITED STATES OF AMERICA,
 4
          Plaintiff,
 5
          v.
 6                                                                 CRIM. NO.: 11-345 (DRD/SCC)
 7        [37] EMMANUEL COLON-MONTILLA,
          Defendant.
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 9
                        MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
10                          RE: RULE 11 PROCEEDINGS (PLEA OF GUILTY)
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     I.         Procedural Background
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                On January 18, 2012, defendant Emmanuel Colon-Montilla (hereinafter, “defendant”), assisted
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     and represented by Ruben Cerezo, Esq., entered a plea of guilty as to Count One of the Indictment.
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                The defendant has agreed to plead guilty to Count One of the indictment. Count One charges
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     that, beginning on a date unknown but not later than in or about 2008, and continuing up to and until
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     the return of the instant Indictment, in the District of Puerto Rico and within the jurisdiction of this
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     Court, the defendant and others, did knowingly and intentionally conspire, combine, and agree with
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     each other and others known and unknown to the Grand Jury, to commit offenses against the United
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     States, that is, to possess with intent to distribute one (1) kilogram or more of heroin, a Schedule I
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     Narcotic Drug Controlled Substance; two hundred eighty (280) grams or more of cocaine base, a
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     Schedule II Narcotic Drug Controlled Substance; five (5) kilograms or more of cocaine, a Schedule II
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     Narcotic Drug Controlled Substance; a measurable amount of a substance containing a detectable
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     amount of marihuana, a Schedule I Controlled Substance; a mixture or substance containing a detectable
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     amount of Oxycodone (commonly known as Percocet), a Schedule II Controlled Substance; and a
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     mixture or substance containing a detectable amount of Alprazolam (commonly known as Xanax), a
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     Schedule IV Controlled Substance, all within one thousand (1,000) feet of the real property comprising
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     a housing facility owned by a public housing authority, that is, the Jardines de Ceiba Public Housing
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       Case 3:11-cr-00345-DRD             Document 259         Filed 01/24/12      Page 2 of 6



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 2   Project located in Ceiba, Puerto Rico, all in violation of Title 21, United States Code, Sections 846,
 3   841(a)(1), and 860.
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 5   II.      Consent to Proceed Before a Magistrate Judge
 6            In open court, the defendant was questioned as to the purpose of the hearing being held and was
 7   advised of: (a) the nature and purpose of the hearing; (b) the fact that all inquiries were to be conducted
 8   under oath and that it was expected that his answers would be truthful; (c) the potential consequences
 9   of lying under oath (such as a perjury charge); and (d) his right to have the change of plea proceedings
10   presided by a district judge instead of a magistrate judge. The defendant was also explained the
11   differences between the appointment and functions of the two. The defendant consented to proceed
12   before the undersigned magistrate judge.
13
14   III.     Proceedings Under Rule 11, Federal Rules of Criminal Procedure
15            A.     Rule 11(c)(1) Requirements
16                    Rule 11 of the Federal Rules of Criminal Procedure governs the acceptance of
              guilty pleas to federal criminal violations. Pursuant to Rule 11, in order for a plea of
17            guilty to constitute a valid waiver of the defendant’s right to trial, guilty pleas must be
              knowing and voluntary: “Rule 11 was intended to ensure that a defendant who pleads
18            guilty does so with an ‘understanding of the nature of the charge and consequences of
              his plea.’” United States v. Cotal-Crespo, 47 F.3d 1, 4 (1st Cir. 1995) (quoting
19            McCarthy v. United States, 394 U.S. 459, 467 (1969)). [There are three core concerns
              in these proceedings]: 1) absence of coercion; 2) understanding of the charges; and 3)
20            knowledge of the consequences of the guilty plea. United States v. Cotal-Crespo, 47
              F.3d at 4 (citing United States v. Allard, 926 F.2d 1237, 1244-45 (1st Cir. 1991)).
21
     United States v. Hernández-Wilson, 186 F.3d 1, 5 (1st Cir. 1999).
22
              B. Admonishment of Constitutional Rights
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              To assure defendant’s understanding and awareness of his rights, defendant was advised of his
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     right:
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              1.   To remain silent at trial and be presumed innocent, since it is the government who has the
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                   burden of proving him guilty beyond a reasonable doubt;
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        Case 3:11-cr-00345-DRD           Document 259         Filed 01/24/12      Page 3 of 6



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 2           2.   To testify or not to testify at trial, and that no adverse inference could be made in relation
 3                to his decision not to testify;
 4           3.   To a speedy trial before a district judge and a jury, at which he would be entitled to see and
 5                cross examine the government witnesses, present evidence on his behalf, and challenge the
 6                government’s evidence;
 7          4.    To have a unanimous verdict rendered by a jury of twelve persons which would have to be
 8                convinced of defendant’s guilt beyond a reasonable doubt by means of admissible evidence;
 9                and
10          5.    To use the subpoena power of the court to compel the attendance of witnesses.
11          Upon listening to the defendant’s responses, observing his demeanor and his speaking with his
12 attorney, that to the best of counsel’s belief defendant had fully understood his rights, it is determined
13 that defendant is aware of his constitutional rights.
14          C. Consequences of Pleading Guilty
15          Upon advising defendant of his constitutional rights, he was further advised of the consequences
16 of pleading guilty. Specifically, defendant was advised that by pleading guilty and upon having his
17 guilty plea accepted by the court, he will be giving up the above rights and will be convicted solely on
18 his statement that he is guilty.
19          Furthermore, the defendant was admonished of the fact that by pleading guilty he would not be
20 allowed later on to withdraw his plea because he eventually might disagree with the sentence imposed,
21 and that if he violates the conditions of supervised release, that privilege could be revoked and he could
22 be required to serve an additional term of imprisonment. He was also explained that parole has been
23 abolished.
24          In response to further questioning, defendant was explained and he understood that if convicted
25 on Count One of the indictment, he will face the following maximum penalties: based on the stipulated
26 and agreed amount of narcotics possessed by the defendant, the penalty for the offense shall be a term
27 of imprisonment of not less than five (5) years and not more than eighty (80) years; a fine not to exceed
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       Case 3:11-cr-00345-DRD           Document 259        Filed 01/24/12      Page 4 of 6



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 2 $10,000,000.00; and a term of supervised release of at least eight (8) years, all pursuant to Title 21,
 3 United States Code, Sections 841(b)(1)(B) and 860. Defendant was also made aware that the court must
 4 impose a special mandatory penalty assessment of one hundred dollars ($100) per offense pursuant Title
 5 18, United States Code, Section 3013(a).
 6          The defendant was advised that the ultimate sentence was a matter solely for the court to decide
 7 in its discretion and that, even if the maximum imprisonment term and fine were to be imposed upon
 8 him, he later could not withdraw his guilty plea for that reason alone. The defendant understood this.
 9          The defendant acknowledged that at this stage no guarantees or promises as to the sentence to
10 be imposed had been made to him. The defendant was also explained what the supervised release term
11 means and was urged to cooperate with the United States Probation Office.
12          D. Plea Agreement
13          The parties have entered into a written plea agreement that, upon being signed by the
14 government, defense attorney and defendant, was filed and made part of the record. Docket No. 255.
15 Defendant was clearly warned and recognized having understood that:
16          1.   The plea agreement is not binding upon the sentencing court;
17          2.   The plea agreement is an agreement between the defendant, defense counsel and the
18               attorney for the government which is presented as a recommendation to the court in regards
19               to the applicable sentencing adjustments and guidelines, which are advisory;
20          3.   The agreement provides a sentencing recommendation and/or anticipated sentencing
21               guideline computation, that can be either accepted or rejected by the sentencing court; and
22          4.   In spite of the plea agreement and any sentencing recommendation contained therein, the
23               sentencing court retains full discretion to reject such plea agreement and impose any
24               sentence up to the maximum possible penalty prescribed by statute.
25          Defendant acknowledged having understood this explanation.
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        Case 3:11-cr-00345-DRD          Document 259        Filed 01/24/12      Page 5 of 6



 1                                                     5
 2          E. Government's Evidence (Basis in Fact)
 3          The government presented a proffer of its evidence as stated in the version of facts of the plea
 4 agreement with which the defendant concurred. Accordingly, it is determined that there is a basis in fact
 5 and evidence to establish all the elements of the offense charged.
 6          F. Voluntariness
 7          The defendant accepted that no threats had been made to induce him to plead guilty and that he
 8 did not feel pressured to plead guilty. He came to the hearing for the purpose of pleading guilty and
 9 listened attentively as the prosecutor outlined the facts which would have been proven had the case
10 proceeded to trial.
11          G. Special Warnings
12          The defendant was explained, and he understood, that if the court accepts the plea agreement and
13 sentences him according to its terms and conditions, he will be surrendering his right to appeal the
14 sentence and judgment in this case.
15
16 IV.      Conclusion
17          The defendant, by consent, has appeared before me pursuant to Rule 11, Federal Rules of
18 Criminal Procedure, and has entered a plea of guilty as to count one of the indictment. After cautioning
19 and examining the defendant under oath and in open court concerning each of the subject matters
20 mentioned in Rule 11, as described in the preceding sections, I find that defendant is competent to enter
21 this guilty plea, is aware of the nature of the offense charged and the maximum statutory penalties that
22 the same carries, understands that the charge is supported by the government’s evidence, has admitted
23 to every element of the offense charged, and has done so in an intelligent and voluntary manner with full
24 knowledge of the consequences of his guilty plea. Therefore, I recommend that the court accept the
25 guilty plea of the defendant and that the defendant be adjudged guilty as to Count One of the Indictment.
26          This report and recommendation is filed pursuant to 28 U.S.C. § 636(b)(1)(B) and Rule 72(d)
27 of the Local Rules of Court. Any objections to the same must be specific and must be filed with the
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       Case 3:11-cr-00345-DRD           Document 259        Filed 01/24/12     Page 6 of 6



 1                                                     6
 2 Clerk of Court within fourteen (14) days of its receipt. Rule 72(d), Local Rules of Court; Fed. R. Civ.
 3 P. 72(b)(2). Failure to timely file specific objections to the report and recommendation is a waiver of
 4 the right to review by the district court. United States v. Valencia-Copete, 792 F.2d 4 (1st Cir. 1986).
 5          SO RECOMMENDED.
 6          At San Juan, Puerto Rico, this 24th day of January, 2012.
 7
                                                  s/ SILVIA CARRENO-COLL
 8                                                UNITED STATES MAGISTRATE JUDGE
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